     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 1 of 17




                           Maher, et al. v. Kingdom of Saudi Arabia, et al.
                             [new case to be created upon severance]
PLAINTIFFS                        RELATIONSHIP           PRIOR PENDING MDL CASES

Estate of Daniel L. Maher         9/11 Decedent          Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
(Personal Rep: Katherine Maher)                          Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
                                                         Ashton v. Kingdom of Saudi Arabia, 1:17-cv-2003

Katherine Maher                   Spouse                 Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                         Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
                                                         Ashton v. Kingdom of Saudi Arabia, 1:17-cv-2003

Daniel R. Maher                   Child                  Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                         Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
                                                         Ashton v. Kingdom of Saudi Arabia, 1:17-cv-2003

Joseph F. Maher                   Child                  Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                         Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
                                                         Ashton v. Kingdom of Saudi Arabia, 1:17-cv-2003

DEFENDANTS                        OPERATIVE COMPLAINTS NAMING DEFENDANT

SOVEREIGN DEFENDANT

Kingdom of Saudi Arabia
Ashton KSA Consolidated Complaint at ECF 1; Ashton First Amended Consolidated Complaint at ECF 20.


             PLEADINGS AND ORDERS AND RELATED FILINGS TO BE TRANSFERRED

From Ashton v. Kingdom of Saudi Arabia, 1:17-cv-2003:

ECF 1: Ashton KSA Consolidated Complaint

ECF 20: Ashton First Amended Consolidated Complaint at ECF 20.
        Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 2 of 17




                Maher, et al. v. Islamic Emirate of Afghanistan a/k/a the Taliban, et al.
                          [new case to be created by Clerk upon severance]
PLAINTIFFS                           RELATIONSHIP              PENDING MDL CASES

Estate of Daniel L. Maher            9/11 Decedent             Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
(Personal Rep: Katherine Maher)                                Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Katherine Maher                      Spouse                    Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                               Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Daniel R. Maher                     Child                       Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
        Note: This Plaintiff will have claims against all       Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
        defendants other than the Taliban, al Qaeda, and the
        Estate of Osama bin Laden; he is a plaintiff against the
        defendants Taliban, al Qaeda, and the Estate of Osama
        bin Laden in Grazioso, et al. v. Taliban, et al., 22-cv-1188


Joseph F. Maher                     Child                       Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
        Note: This Plaintiff will have claims against all       Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977
        defendants other than the Taliban, al Qaeda, and the
        Estate of Osama bin Laden; he is a plaintiff against the
        defendants Taliban, al Qaeda, and the Estate of Osama
        bin Laden in Grazioso, et al. v. Taliban, et al., 22-cv-1188


DEFENDANTS                           OPERATIVE COMPLAINTS NAMING DEFENDANT

JURISDICTIONAL AND MERITS DEFENDANTS1

World Assembly of Muslim Youth; World Assembly of Muslim Youth International
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 264, 374; Ashton First Amended Consolidated
Master Complaint at Ashton ECF 32, Para. 267, 377; Ashton Second Amended Consolidated Master Complaint at
Ashton ECF 38, Para. 267, 377; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para.
272, 578; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 203, 264.

International Islamic Relief Organization
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 390; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 393; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 393; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 266; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 198.

Muslim World League
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 356; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 359; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 359; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 298; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 218.

Abdullah bin Saleh al Obaid
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 453; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 456; Ashton Second Amended Consolidated Master Complaint at Ashton ECF



1
    As that term is used in various filings on the MDL docket, e.g., MDL Doc. No. 7143 (September 27, 2021).

                                                          2
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 3 of 17



38, Para. 456; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 300; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 220.

Abdullah Mohsen al Turki
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 284; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 287; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 287; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 244; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 181.

Adan Basha
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 259; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 262; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 262; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 267; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 199.

Yassin Kadi
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 329; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465, Para. 241.

Abdullah Omar Naseef
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 551; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 552; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 552; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 527; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 379.

OTHER DEFENDANTS

Aqeel al Aqeel (Al-Haramain Foundation)
Bauer Complaint at ECF 1, Para. 291; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 493; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 496; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 496; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 467; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 347.

Dallah Avco Trans Arabia Co. Ltd.
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 479; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 482; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 482; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 589; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 451.

Soliman H.S. Al-Buthe (Al-Haramain Foundation – U.S.)
Ashton Second Amended Consolidated Master Complaint at Ashton ECF 38, Para. 498; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465, Para. 349.

Sulaiman Al-Ali (IIRO)
Bauer Complaint at ECF 1, Para. 218; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 453; Ashton
Second Amended Consolidated Master Complaint at Ashton ECF 38, Para. 456; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465, Para. 238.

DEFENDANTS IN DEFAULT

Islamic Emirate of Afghanistan, a/k/a the Taliban
Bauer at ECF 1, Para. 65; Ashton Consolidated Master Complaint at ECF 11, Para. 10; Ashton First Amended
Consolidated Master Complaint at ECF 32, Para. 10; Ashton Second Amended Consolidated Master Complaint at
ECF 38, Para. 10; Ashton Third Amended Consolidated Master Complaint at ECF Ashton 111, Para. 10; Ashton
Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 10.


                                                      3
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 4 of 17



al-Qaeda Islamic Army a/k/a al-Qaeda
Bauer at ECF 1, Para. 60-61; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 5-6; Ashton First
Amended Consolidated Master Complaint at Ashton ECF 32, Para. 5-6; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 5-6; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 5-6; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 5-6.

Estate of Osama bin Laden
Bauer at ECF 1, Para. 62; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 7; Ashton First Amended
Consolidated Master Complaint at Ashton ECF 32, Para. 7; Ashton Second Amended Consolidated Master
Complaint at Ashton ECF 38, Para. 7; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111,
Para. 7; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 7.

Egyptian Islamic Jihad
Bauer Complaint at ECF 1, Para. 76; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 26; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 26; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 26; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 26; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 28.

Muslim Brotherhood
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 26; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 382.

Mohamad Bayazid (al Qaeda)
Bauer Complaint at ECF 1, Para. 232; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 8; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 8; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 8; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 8; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 8.

Gulbuddin Hekmatyar
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 195; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 198; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 198; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 199; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 78.

Wa’el Jelaidan (Default Pending)
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 441.

Benevolence International Foundation, Inc.
Bauer Complaint at ECF 1, Para. 225; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 50; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 52; Ashton Third Amended Consolidated
Master Complaint at Ashton ECF 111, Para. 51; Ashton Sixth Amended Consolidated Master Complaint at Ashton
ECF 465 at Para. 43.

Taibah International Aid Association
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 449; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 452; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 574; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 320; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465, Para. 233, 261.

Global Relief Foundation, Inc.
Bauer Complaint at ECF 1, Para. 278; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 279; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 282; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 282; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 242; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 179.



                                                      4
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 5 of 17



Muwaffaq Foundation a/k/a Blessed Relief Foundation
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 329; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 241.

Akida Bank Private Limited a/k/a Akida Islamic Bank
Ashton First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 473, 541; Ashton Second Amended
Consolidated Master Complaint at Ashton ECF 38, Para. 473, 541; Ashton Third Amended Consolidated Master
Complaint at Ashton ECF 111, Para. 337, 534; Ashton Sixth Amended Consolidated Master Complaint at Ashton
ECF 465, Para. 260, 385.

Bank al Taqwa
Bauer Complaint at ECF 1, Para. 274; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 470; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 473; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 473; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 330; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 243.

Hassan Bahfzallah
Bauer Complaint at ECF 1, Para. 218; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 456; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 459; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 459; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 324; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 236.

Adil Batterjee a/k/a Sheikh Adel Abdul Jalil Batterjee
Bauer Complaint at ECF 1, Para. 226; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 50; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 52; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 52; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 51; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 43.

Mansour al-Kadi (Al-Haramain Foundation)
Bauer Complaint at ECF 1, Para. 291; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 493; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 496; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 496; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 469; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 347.

Nada Management Organization SA
 a/k/a al Taqwa Management Organization a/k/a Nasco Nasreddin Holdings SA
Bauer Complaint at ECF 1, Para. 276-7; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 544;
Ashton First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 541; Ashton Second Amended
Consolidated Master Complaint at Ashton ECF 38, Para. 541; Ashton Third Amended Consolidated Master
Complaint at Ashton ECF 111, Para. 538; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF
465 at Para. 385.

Ali Ghaleb Himmat
Bauer Complaint at ECF 1, Para. 276; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 543; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 543; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 543; Ashton Third Amended Consolidated Master Complaint at ECF
Ashton 111, Para. 330; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 243.

Piedmont Poultry
Bauer Complaint at ECF 1, Para. 268; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 358; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 361; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 361; Ashton Third Amended Consolidated Master Complaint at ECF
Ashton 111, Para. 385; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 269.




                                                     5
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 6 of 17



Yousef M. Nada
Bauer Complaint at ECF 1, Para. 276; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 470; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 473; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 473; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 330; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 243.

Yousef M. Nada Establishment
Ashton First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 541; Ashton Second Amended
Consolidated Master Complaint at Ashton ECF 38, Para. 541; Ashton Third Amended Consolidated Master
Complaint at Ashton ECF 111, Para. 540.

Mufti Mohammed Rashid
Bauer Complaint at ECF 1, Para. 281; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 585; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 586; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 586; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 529; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 381.

Abdulrahman Alamoudi (Success Foundation)
Bauer Complaint at ECF 1, Para. 218; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 442; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 445; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 445; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 313; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 246.

Albert Freidrich Armand Huber a/k/a Ahmed Huber
Bauer Complaint at ECF 1, Para. 276; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 541; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 541; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 541; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 534; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 385.

Global Diamond Resource
Bauer Complaint at ECF 1, Para. 196; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 348; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 351; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 351; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 459; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 345.

Gum Arabic Co. Ltd.
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 51; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 38.

Mamoun Darkazanli
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 242; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 179.

Mamoun Darkazanli Import-Export Company
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 364; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 276.

Miga – Malaysian Swiss Gulf and African Chamber
Ashton First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 541; Ashton Second Amended
Consolidated Master Complaint at Ashton ECF 38, Para. 541; Ashton Third Amended Consolidated Master
Complaint at Ashton ECF 111, Para. 540; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF
465 at Para. 391.

Mohamed Bahareth (Saudi bin Laden Group)
Ashton Consolidated Master Complaint at ECF 11, Para. 332; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 335; Ashton Second Amended Consolidated Master Complaint at Ashton ECF

                                                     6
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 7 of 17



38, Para. 335; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 545; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 397.

Mustafa Ahmed al Hisawi
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 537.

New Diamond Holdings
Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 459; Ashton Sixth Amended
Consolidated Master Complaint at Ashton ECF 465 at Para. 345.

Said Bahaji
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 222; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 225; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 225; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 226; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 163.

Sana-Bell Inc. a/k/a Sanabel al Kheer, Inc. a/k/a Sanabil al Khair
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 452; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 455; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 455; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 323; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 235.

Sherif Sedky (SAAR)
Bauer Complaint at ECF 1, Para. 211; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 472; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 475; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 475; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 339; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 263.

Estate of Ayman al Zawahiri (al Qaeda)
Bauer Complaint at ECF 1, Para. 63; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 8; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 8; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 8; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 8; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 8.

Abd al Rahim al Nashiri a/k/a Bilal Bin Marwan a/k/a Mullah Bilal (al Qaeda)
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 241; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 244; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 244; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 155; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 141.

Abu Zubaydah (al Qaeda)
Bauer Complaint at ECF 1, Para. 63; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 8; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 8; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 8; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 8; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 8.

Khalid Sheikh Mohammed (al Qaeda)
Bauer Complaint at ECF 1, Para. 63; Ashton Consolidated Master Complaint at ECF 11, Para. 8; Ashton First
Amended Consolidated Master Complaint at ECF 32, Para. 8; Ashton Second Amended Consolidated Master
Complaint at ECF 38, Para. 8; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 8;
Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 8.

Mohamed Galeb Kalaje Zouaydi a/k/a Abu Talha (al Qaeda)
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 276; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 253; Ashton Second Amended Consolidated Master Complaint at Ashton ECF


                                                      7
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 8 of 17



38, Para. 253; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 258; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 178.

Mounir El-Motassadeq (al Qaeda)
Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 217; Ashton First Amended Consolidated Master
Complaint at Ashton ECF 32, Para. 220; Ashton Second Amended Consolidated Master Complaint at Ashton ECF
38, Para. 220; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 221; Ashton Sixth
Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 159.

Ramzi Mohamed Abdullah Binalshibh a/k/a Ramzi Mohamed (al Qaeda)
Bauer Complaint at ECF 1, Para. 63; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 222; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 225; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 225; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 226; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 90, 163.

Estate of Abdelaziz al Omari (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Ahmed al Ghamdi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Ahmed al Nami (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Ahmed Ibrahim A. al Haznawi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton First Amended Consolidated Master Complaint at Ashton ECF 32,
Para. 9; Ashton Second Amended Consolidated Master Complaint at Ashton ECF 38, Para. 9; Ashton Third
Amended Consolidated Master Complaint at Ashton ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master
Complaint at Ashton ECF 465 at Para. 9.

Estate of Fayez Ahmed (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Hamza al Ghamdi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at ECF 32, Para. 9; Ashton Second Amended Consolidated Master
Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111,
Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Hani Hanjour (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

                                                      8
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 9 of 17




Estate of Khalid al Midhar (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Majed Moqed (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Marwan al Shehhi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Mohald al Shehri (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Mohamed Atta (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Nawaf al Hazmi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at ECF 11, Para. 9; Ashton First
Amended Consolidated Master Complaint at ECF 32, Para. 9; Ashton Second Amended Consolidated Master
Complaint at ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para. 9;
Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Saeed al Ghamdi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Salem al Hazmi (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Master at Ashton ECF 465 at Para. 9.

Estate of Sata M.A. al Suqami (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.



                                                      9
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 10 of 17



Estate of Waleed M. al Shehri (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Estate of Ziad Samir Jarrah (al Qaeda – Terrorist Hijacker)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.

Zacarias Moussaoui (al Qaeda)
Bauer Complaint at ECF 1, Para. 64; Ashton Consolidated Master Complaint at Ashton ECF 11, Para. 9; Ashton
First Amended Consolidated Master Complaint at Ashton ECF 32, Para. 9; Ashton Second Amended Consolidated
Master Complaint at Ashton ECF 38, Para. 9; Ashton Third Amended Consolidated Master Complaint at Ashton
ECF 111, Para. 9; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465 at Para. 9.


              PLEADINGS AND ORDERS AND RELATED FILINGS TO BE TRANSFERRED

Bauer ECF 1 – Complaint filed on 9/10/02.

Ashton ECF [No Number] – Stipulation and Order dated 11/19/2002: “[T]he following cases no. 02 cv 6977; 02 cv
6978; 02 cv 7230; 02 cv 7236 [Bauer]; 02 cv 7209 and 02 cv 7214 are consolidated, for liability purposes, in one
action before Judge Schwartz; The consolidated action shall hereinafter be referred to as Kathleen Ashton, et al. v.
Al Qaeda Islamic Army, et al., 02 cv 6977 (AGS). Plaintiffs’ counsel further stipulate and consent to the filing of a
Master Complaint against identical defendants no later than 1/7/03, to be served on defendants purs. To the FRCP
and/or by Court Order; Plaintiffs’ counsel further stipulate and consent to the appointment of James P. Kreindler of
the law firm of Kreindler to act as liaison counsel in the consolidated action; Copies mailed by Chambers to all
counsel. (Orig. entry made in Lead Case No. 02 cv 6977, Doc. #5). (signed by Judge Alan G. Schwartz)

Ashton ECF 11 - Ashton Consolidated Master Complaint filed on 3/6/2003.

Ashton ECF 12 – Order on Plaintiffs’ Request for Service by Mail to Last Known Readily Ascertainable Address
and by Publication Pursuant to Fed. R. Civ. P. 4(f)(3) entered 3/18/03.

Ashton ECF 32 – Ashton First Amended Consolidated Master Complaint filed on 8/1/03.

Ashton ECF 38 – Ashton Second Amended Consolidated Master Complaint filed on 8/13/03.

Ashton ECF 111 – Ashton Third Amended Consolidated Master Complaint filed on 9/5/03.

MDL ECF 1 – Certified true copy of conditional MDL transfer in Order from the MDL Panel pursuant to 28 U.S.C.
1407 signed by MDL Panel on 12/9/03.

Ashton ECF 194 – Order as to alternative service on the above-named Defendants entered by Judge Casey and
docketed on 9/16/04.

MDL ECF 447 – Ashton Fifth Amended Consolidated Master Complaint filed on 9/20/04.

Ashton ECF 247 – First Proof of Service by Publication on above-named Defendants in Default filed on 3/4/05.

Ashton ECF 253 – Second Proof of Service by Publication on above-named Defendants in Default filed on 3/16/05.

Ashton ECF 465 – Ashton Sixth Amended Consolidated Master Complaint filed on 9/30/05.

                                                         10
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 11 of 17




Ashton ECF 524 – Motion for Entry of Default and Judgment by Default as to the above-named Defendants in
Default filed by the Ashton Plaintiffs with Affidavit of Andrew J. Maloney, III, with exhibits, in support of entry of
Default Judgment, filed 4/28/06.

Ashton ECF 528 - Default Judgment as to the above-named Defendants in Default entered by Judge Casey on
5/12/06.

Bauer ECF 8 – Notice of Case Reassignment to Judge George B. Daniels. Judge Richard C. Casey is no longer
assigned to the case.

Bauer ECF 10 – Order Designating Case as an ECF case.

MDL ECF 3311 – Memorandum Opinion & Order entered 7/13/2006 re Clerk of Court is directed to enter default
judgment against Sanibel.

MDL ECF 3323 - Memorandum Opinion & Order entered 8/1/2016 re Clerk of Court is directed to enter default
judgment against Al Haramain (USA).
Bauer ECF 132 – Motion for Entry of Default Judgment, filed 12/31/2021.

Bauer ECF 133 – Declaration of Dorothea M. Capone in Support of Motion for Entry of Default Judgment, filed
12/31/2021.

MDL ECF 7870 – Order setting certain requirements for filing motions for default judgment against the Taliban,
entered 4/11/2022.

Bauer ECF 167 -- Motion for Entry of Default Judgment, filed 7/29/2022.

Bauer ECF 168 -- Declaration of Dorothea M. Capone in Support of Motion for Entry of Default Judgment, filed
7/29/2022.

Bauer ECF 169 – Form of Proposed Order, filed 7/29/2022.

MDL ECF 8275 – Declaration of Andrew J. Maloney, III, with exhibits in support of entry of Default Judgment
against the Taliban, filed 7/27/2022.




                                                          11
    Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 12 of 17




                                Maher, et al. v. Republic of the Sudan
                          [new case to be created by Clerk upon severance]
PLAINTIFFS                         RELATIONSHIP              PENDING MEMBER MDL CASES

Estate of Daniel L. Maher          9/11 Decedent             Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
(Personal Rep: Katherine Maher)                              Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Katherine Maher                    Spouse                    Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                             Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Daniel R. Maher                    Child                     Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                             Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Joseph F. Maher                    Child                     Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                             Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977


DEFENDANT                          OPERATIVE PLEADINGS NAMING DEFENDANT

Republic of the Sudan
Bauer Complaint at ECF 1, Para. 72-73; Ashton Consolidated Master Complaint at ECF 11, Para. 5, 17; Ashton First
Amended Consolidated Master Complaint at ECF 32, Para. 5, 17; Ashton Second Amended Consolidated Master
Complaint at ECF 38, Para. 5, 17; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para.
4-5; 17-18; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 4-5; 16-17; Ashton
Amended Complaint as to Sudan Defendants at MDL ECF 6537.


             PLEADINGS AND ORDERS AND RELATED FILINGS TO BE TRANSFERRED

Bauer ECF 1 – Complaint filed 9/10/02.

Ashton ECF 11 - Ashton Consolidated Master Complaint filed 3/6/2003.

Ashton ECF 32 - Ashton First Amended Consolidated Master Complaint filed 8/1/03.

Ashton ECF 38 - Ashton Second Amended Consolidated Master Complaint filed 8/13/03.

Ashton ECF 111 – Ashton Third Amended Consolidated Master Complaint filed 9/5/03.

Ashton ECF 358 – Affidavit of Service of Ashton Consolidated Master Complaint upon Republic of the Sudan and
Islamic Republic of Iran filed 9/16/05.

Ashton ECF 465 – Ashton Sixth Amended Consolidated Master Complaint filed on 9/30/05.

Ashton ECF 652 – Clerk’s Certificate of Default entered 12/22/11.

MDL ECF 5824 – Sudan’s Motion to Dismiss for Lack of Subject-Matter Jurisdiction and Personal
Jurisdiction filed 02/03/2020.

MDL ECF 5825 – Sudan’s Memorandum of Law in Support of Motion to Dismiss for Lack of Jurisdiction Sudan's
Motion to Dismiss for Lack of Subject-Matter Jurisdiction and Personal Jurisdiction, filed 02/03/2020.

MDL ECF 6285 – PEC Letter re: Proposal for consolidated and coordinated proceedings as to the Republic of
Sudan, with Exhibits 1-9, filed 06/18/2020.


                                                       12
    Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 13 of 17




MDL ECF 6286 – Kreindler Letter re: Proposal for consolidated proceedings against Sudan, filed 06/18/2020.

MDL ECF 6288 – Sudan letter re: Plaintiffs Executive Committees proposed ‘consolidated and coordinated
proceeding” with Exhibit, filed 06/21/2020.

MDL ECF 6291 – PEC Letter re: Sudan’s June 21,2020 Letter (ECF No. 6288), filed 06/23/2020.

MDL ECF 6328 – Order re: telephone conference set for Wednesday, August 5, 2020, at 3:00 p.m. to discuss the
PECs’ proposal for consolidated and coordinated proceedings as to Sudan and re: the submission and service of a
consolidated amended complaint (CAC) and whether service of a CAC would vacate the prior default judgments,
entered: 07/24/2020.

MDL ECF 6350 – Maher, et al., Motion to File New Associated Case Under A Short Form Complaint and to Adopt
Ashton for Claims Against Defendant Republic of the Sudan, with Exhibits 1-8, filed 08/03/2020.

MDL ECF 6351 – Maher, et al., Memorandum of Law in Support of Motion To File New Associated Case Under A
Short Form Complaint and to Adopt Ashton for Claims Against Defendant Republic of the Sudan, filed 08/03/2020.

MDL ECF 6374 – Order denying without prejudice ECF 6350 Motion. Pursuant to the Court’s instructions to the
parties at yesterday’s telephone conference, Plaintiffs’ motion is denied with leave to refile upon the Court’s
adoption of any procedures regarding notices to conform and short form complaints as to the Republic of Sudan,
entered 08/06/2020.

MDL ECF 6397 – PEC Letter re: Sudan scheduling order, filed 08/19/2020.

MDL ECF 6399 – PEC letter re: Jointly proposed schedule for the filing of the pleadings, motions and briefs
authorized by the 8/5/20 conference, filed 08/20/2020.

Ashton ECF 1322 – Letter to Court re: Sudan’s Objection to Unauthorized “Supplemental” Pleadings, filed 9/18/20.

MDL ECF 6493 – PEC’s letter re: Response to Sudan’s Letter at ECF 6462 and the Court’s related Order at ECF
No. 6482, filed 10/9/20.

MDL ECF 6401 – Memo Endorsement re: 6399 Letter, endorsing the Parties’ proposed briefing schedule. Pursuant
to this scheduling order, Plaintiffs' opposition to Sudan’s motion to dismiss at ECF No. 5824 is stayed. Amended
Pleadings due by 9/1/2020, Motions due by 10/16/2020, entered 08/21/2020.

MDL ECF 6427 – Notice of Plaintiffs’ Consolidated Supplemental Complaint Against the Republic of the Sudan,
filed 09/04/2020.

MDL ECF 6428 – PEC Letter re: Pleadings related to Plaintiffs’ claims against Sudan, filed 09/04/2020.

MDL ECF 6429 – PEC’s Notice of Ashton Plaintiffs’ Supplemental Complaint against the Republic of the Sudan,
filed 09/04/2020.

MDL ECF 6537 – Ashton Amended Complaint as to Sudan Defendants filed 11/19/20.

MDL ECF 6462 – Letter re: Sudan's Objection to Plaintiffs’ Unauthorized Filing of “Supplemental Pleadings”
against Sudan, filed 09/18/2020.

MDL ECF 6482 – Order, entered 10/01/2020.

MDL ECF 6492 – PEC Letter re: Status of short-form procedure referenced in the Courts Order at ECF No. 6482,
filed 10/09/2020.


                                                        13
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 14 of 17



MDL ECF 6493 – PEC Letter re: Response to Sudan’s Letter at ECF No. 6462 and the Court's related Order at ECF
No. 6482, filed 10/09/2020.

MDL ECF 6496 – Sudan’s Letter re: Sudan’s Response to Plaintiffs’ Letter at ECF No. 6493, filed 10/13/2020.

MDL ECF 6521 – Order re: Supplemental Complaints unauthorized; and ordering PECs to separately file a
consolidated amended complaint to supersede all previous complaints against Sudan in the relevant member cases.
By November 20, 2020, the PECs and the Ashton Plaintiffs are also directed to propose, either separately or jointly,
procedures for other parties to join the consolidated amended complaints in a short form complaint. And setting
schedule for motion to dismiss the consolidated complaints and the effects if any - of an amended complaint on the
entries of default against Sudan, entered 11/04/2020.

MDL ECF 6537 – Amended Complaint against Republic of the Sudan, Omar Hassan Ahmad Al-Bashir, President of
Sudan, National Islamic Front Party, Hassan Turabi, filed 11/19/2020.

MDL ECF 6539 – PEC’s Notice of Plaintiffs’ Consolidated Amended Complaint as to The Republic of The Sudan,
entered: 11/20/2020.

MDL ECF 6540 – PEC’s Letter re: Proposed procedures for other parties to join the consolidated amended
complaints in a short form complaint, pursuant to the Court’s order at ECF No. 6521, filed 11/20/2020.

MDL ECF 6547 – Order Aprroving Notices to Conform, Short Form Complaints, & Notices of Amendment as to
Sudan, entered: 12/01/2020.

MDL ECF 6574 – Sudan’s Consolidated Motion to Dismiss the Amended Complaints Due to Lack of Subject-
Matter Jurisdiction, Lack of Personal Jurisdiction, and Failure to State a Claim filed by Republic of the Sudan, filed
1/8/21.

MDL ECF 6575 – Sudan’s Memorandum of Law re: Motion to Dismiss, filed 1/8/21.

MDL ECF 6649 – PEC’s Memorandum of Law in Opposition to Sudan’s Motion to Dismiss, filed 3/8/21.

MDL ECF 6713 – Sudan’s Reply Memorandum in Support of Motion to Dismiss, filed 4/7/21.

MDL ECF 7060 --- Clerk Certificate of Mailing of two copies of the Notice of Suit, Sudan Short Form Complaint
deemed filed December 18, 2020, Summons, Civil Cover Sheet, Foreign Sovereign Immunities Act mailed to The
Republic of Sudan, Minister of Foreign Affairs, Ministry of Foreign Affairs, Gamma Street, Khartoum, Sudan on
08/20/2021 by Federal Express tracking # 7745 7985 8922, to the Secretary of State, Attn: Director of Consular
Services, Office of Policy Review and Inter-Agency Liaison (CA/OCS/L), U.S. Department of State, SA-17, 10th
Floor, 2201 C Street NW, Washington, DC 20522, pursuant to the provisions of Foreign Services Immunities Act,
28 U.S.C. § 1608(a)(4). Filed In Associated Cases: 1:03-md-01570-GBD-SN, 1:02-cv-06977-GBD-SN(JKR)
(Entered: 08/20/2021)

MDL 7136 – Order re: PECs’ letter at ECF No. 7135 re: Court's proposal to terminate several caption entries for
duplicative or dismissed defendants in this matter. See ECF Nos. 6909, 7012. Given the concerns raised by the
PECs, the Court respectfully directs the Clerk of the Court to make the modifications to the MDL case caption
identified in the Court's order at ECF No. 7012 with one exception. The following entries in List A should not be
terminated from the caption: 1. Agencies and Instrumentalities of the Republic of the Sudan 2. Republic of Sudan
Ministry of Defense 3. Sudanese Government of Northern State 4. Sudanese Intelligence Service. Entered,
09/24/2021.

MDL 7250 – Sudan’s letter re: ECF 7135, filed 10/8/2021.

MDL 7266 – Memo Endorsement on Letter filed by Sudan. The Republic of Sudan's request is DENIED. The
presence on or termination from the MDL caption is a matter of administrative efficiency without


                                                          14
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 15 of 17



legal significance. If a party does not feel the termination of particular entity is warranted, then, barring unusual
circumstances, the Court does not expect to terminate that entity. So Ordered. Entered 10/14/2021.

MDL ECF 7942 – Report & Recommendation to the Honorable George B. Daniels re Sudan Motion to Dismiss at
MDL ECF 6574 docketed 5/3/22.

MDL ECF 8090 – PEC’s Motion for Reconsideration re Report and Recommendations, ECF 7942, filed 6/10/2022.

MDL ECF 8143 – Sudan’s Opposition to PEC’s Motion for Reconsideration, filed 6/24/2022.

MDL ECF 8169 – PEC’s Reply Memorandum in Support of Motion for Reconsideration, filed 6/30/2022

MDL ECF 8170 – Declaration of J. Scott Tarbutton in Support of Motion for Reconsideration, filed 6/30/2022

MDL ECF 8549 – Amended Report & Recommendation to the Honorable George B. Daniels re Sudan Motion to
Dismiss at MDL ECF 6574 docketed 9/23/22.

MDL ECF 8570 – PEC Letter re: proposed agreed-upon schedule for briefing objections to Report and
Recommendation, filed 9/28/2022.

MDL ECF 8707 – PEC’s Objection to Report and Recommendation, filed 11/4/2022.

MDL ECF 8708 – Declaration of J. Scott Tarbutton, filed 11/4/2022.

MDL ECF 8717 – Sudan’s Objection to Report and Recommendation, filed 11/4/2022.

MDL ECF 8791 - Ashton, Betru, Parker & Nolan Plaintiffs’ Memorandum of Law in Opposition to the Republic of
the Sudan’s Rule 72(b) Objections to the Magistrate Judge’s Report & Recommendation filed 12/6/22.

MDL ECF 8792 – PEC’s Objection to Report and Recommendation, filed 12/6/2022

MDL ECF 8793 – Sudan’s Memorandum of Law in Opposition to PEC’s Objections to Report and
Recommendation, filed 12/6/2022

MDL ECF 8834 – Order setting Oral Argument on Objections to Reports and Recommendations for April 19, 2023,
entered 1/19/2023.




                                                           15
     Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 16 of 17




                             Ryan, et al. v. Islamic Republic of Iran, et al.
                      [existing case to receive docketed filings upon severance]
PLAINTIFFS                          RELATIONSHIP               PRIOR PENDING MDL CASES

Estate of Daniel L. Maher           9/11 Decedent              Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
(Personal Rep: Katherine Maher)                                Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Katherine Maher                     Spouse                     Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                               Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Daniel R. Maher                     Child                      Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                               Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977

Joseph F. Maher                     Child                      Bauer v. al-Qaeda Islamic Army, 1:02-cv-7236
                                                               Ashton v. al-Qaeda Islamic Army, 1:02-cv-6977


DEFENDANT                           OPERATIVE PLEADINGS NAMING DEFENDANT

Islamic Republic of Iran
Ashton Consolidated Master Complaint at ECF 11, Para. 5, 19; Ashton First
Amended Consolidated Master Complaint at ECF 32, Para. 5, 19; Ashton Second Amended Consolidated Master
Complaint at ECF 38, Para. 5, 19; Ashton Third Amended Consolidated Master Complaint at Ashton ECF 111, Para.
5, 19; Ashton Sixth Amended Consolidated Master Complaint at Ashton ECF 465, Para. 5, 18.


              PLEADINGS AND ORDERS AND RELATED FILINGS TO BE TRANSFERRED

Ashton ECF 11 - Ashton Consolidated Master Complaint filed on 3/6/2003.

Ashton ECF 32 - Ashton First Amended Consolidated Master Complaint filed on 8/1/03.

Ashton ECF 38 - Ashton Second Amended Consolidated Master Complaint filed on 8/13/03.

Ashton ECF 111 – Ashton Third Amended Consolidated Master Complaint filed on 9/5/03.

Ashton ECF 358 – Affidavit of Service of Ashton Consolidated Master Complaint upon Republic of the Sudan and
Islamic Republic of Iran filed 9/16/05.

Ashton ECF 465 – Ashton Sixth Amended Consolidated Master Complaint filed on 9/30/05.

Ashton ECF 758 – Order as to service of the Ashton Consolidated Amended Complaint upon the Islamic Republic
of Iran entered by Judge Daniels on 8/31/15.

Ashton ECF 759 – Order of Judgment as to liability in favor of the Ashton Plaintiffs and against the Islamic
Republic of Iran entered by Judge Daniels on 8/31/15.

Bauer ECF 14 – Final Motion for Judgment, filed 10/7/16.

Bauer ECF 15 – Declaration of Dorothea M. Capone, with Exhibits at ECF 15-1 through 15-3, filed 10/7/16.

Bauer ECF 16 – Order, entered 10/14/16.

Bauer ECF 17 – Declaration of Dorothea M. Capone, with Exhibits at ECF 17-1 through 17-3, filed 10/14/16.


                                                         16
    Case 1:17-cv-02003-GBD-SN Document 259-1 Filed 02/28/23 Page 17 of 17




Bauer ECF 18 – Order, entered 10/20/16.

Bauer ECF 19 – Declaration of Dorothea M. Capone in Support of Motion for Final Judgment, with Exhibits at ECF
19-1 through 19-3, filed 10/21/16.

Bauer ECF 20 – Order of Further Partial Judgment (with Exhibits A and B) as to damages in favor of the Bauer
Plaintiffs and against the Islamic Republic of Iran signed by Judge Daniels 10/31/16., entered 11/1/16.

Bauer ECF 36 – Letter addressed to Ruby J. Krajick from Jared N. Hess dated 10/25/2017 re: the Court’s request for
transmittal of documents to the Islamic Republic of Iran.




                                                       17
